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12   (Additional Counsel on Signature Page)
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14                               UNITED STATES DISTRICT COURT

15                            NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
16

17   PAOLA NOGUERA, on behalf of                    Case No. 18-cv-06468-MMC
     herself and all others similarly situated,
18                                                  NOTICE OF VOLUNTARY DISMISSAL
                              Plaintiff,
19
            v.
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     FIVE STARS LOYALTY, INC.,
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                              Defendant.
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                                                                       Case No. 18-cv-06468-MMC
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 1   TO: THE COURT, ALL PARITIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil
 3   Procedure, Plaintiff Paola Noguera hereby dismisses this action, without prejudice.
 4          The Clerk may close the case.
 5
                                            Respectfully submitted,
 6
                                            KAPLAN FOX & KILSHEIMER LLP
 7
      Dated: January 18, 2019               By:   /s/ Matthew B. George
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                                     NOTICE OF VOLUNTARY DISMISSAL
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                            NOTICE OF VOLUNTARY DISMISSAL
